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                         IN THE UNITED STATES BANKRUPTCY COURT
11                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE

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     In re                                              Case No.: 18-14536-MLB
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     TIMOTHY DONALD EYMAN,                            [PROPOSED] ORDER SUSTAINING
14                                                    TRUSTEE’S OBJECTION TO
15                                            Debtor. EXEMPTIONS AND EXTENDING TIME

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             THIS MATTER came before the Court upon the Trustee’s Objection to Debtor’s
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     Exemptions (“Objection”), Dkt. ___. The Court has considered the Objection, any responses
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     filed thereto (if any), and the records and files herein. The Court finds that notice of the
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     Objection was properly given to the parties entitled to notice, and that good cause exists for the
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     requested relief to be granted. THEREFORE, it is hereby:
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             ORDERED, ADJUDGED, and DECREED that the Objection is Sustained, it is further
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             ORDERED, ADJUDGED, and DECREED that the exemption asserted by Debtor in the
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     real property located at 11913 59th Ave. W., Mukilteo, WA 98275 (“Real Property”) as “100% of
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     fair market value, up to any applicable statutory limit” is denied, it is further
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             ORDERED, ADJUDGED, and DECREED that any exemption asserted against the
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     estate’s interest in the Real Property by Karen Eyman is denied; it is further


     ORDER SUSTAINING TRUSTEE’S OBJECTION TO                           SCHWEET LINDE & COULSON, PLLC
     EXEMPTIONS AND EXTENDING TIME - 1                                            575 S. MICHIGAN ST.
                                                                                  SEATTLE, WA 98108
                                                                           P (206) 275-1010 F (206) 381-0101
     Case 18-14536-MLB          Doc 432-1      Filed 02/07/22      Ent. 02/07/22 13:06:12           Pg. 1 of 2
 1          ORDERED, ADJUDGED, and DECREED that the time for Trustee to assert further

 2   objections to exemptions is extended from February 24, 2022 to May 25, 2022; it is further

 3          ORDERED, ADJUDGED, and DECREED that nothing in this order shall prohibit the

 4   Trustee from seeking further extension of the deadline to object to exemptions; it is further

 5          ORDERED, ADJUDGED, and DECREED any further extension of the deadline to

 6   object to exemptions shall be on notice, and the request must be filed prior to May 25, 2022.

 7                                         ///END OF ORDER///

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10   Presented By:
11   /s/ Michael M. Sperry
     Michael M. Sperry, WSBA#43760
12   Thomas S. Linde, WSBA#14426
     Latife H. Neu, WSBA#33144
13   Attorneys for Virginia Burdette, Chapter 7 Trustee
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     ORDER SUSTAINING TRUSTEE’S OBJECTION TO                         SCHWEET LINDE & COULSON, PLLC
     EXEMPTIONS AND EXTENDING TIME - 2                                          575 S. MICHIGAN ST.
                                                                                SEATTLE, WA 98108
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